Case 2:21-cv-00330-JVS-E Document 24 Filed 12/03/21 Page 1 of 2 Page ID #:85



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8                       UNITED STATES DISTRICT COURT
9                     CENTRAL DISTRICT OF CALIFORNIA
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11   GREGORY SATER,                          Case No. 2:21-cv-00330-JVS-(Ex)
12              Plaintiff,                   (Honorable James V. Selna)
13        vs.
                                             ORDER DISMISSING ACTION
14   UNUM LIFE INSURANCE                     WITH PREJUDICE
     COMPANY OF AMERICA,
15
                Defendant.                   [FRCP 41 (a)]
16
                                             Complaint Filed: 1/14/21
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                             ORDER DISMISSING ACTION
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Case 2:21-cv-00330-JVS-E Document 24 Filed 12/03/21 Page 2 of 2 Page ID #:86



1                                           ORDER
2          Pursuant to the stipulation of the parties, the above-entitled action is hereby
3    dismissed in its entirety with prejudice as to all parties. Each party shall bear his or
4    its own attorneys’ fees and costs.
5
6          IT IS SO ORDERED.
7
8    Dated: December 03, 2021
                                              Hon. James V. Selna
9                                             United States District Judge
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                               ORDER DISMISSING ACTION
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